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Robin Greenwald
WEITZ & LUXENBERG, PC
700 Broadway
New York, NY 10003
Telephone: (212) 558-5500
rgreenwald@weitzlux.com

Gregory Stamatopoulos
WEITZ & LUXENBERG, PC
3011 West Grand Blvd., 24th Floor
Detroit, MI 48202
Telephone: (313) 800-4170
gstamatopoulos@weitzlux.com

Paul Scott
BROWN, READDICK, BUMGARTNER,
CARTER, STRICKLAND & WATKINS, LLP
5 Glynn Avenue
Brunswick, GA 31520
Telephone: (912) 264-8544
pscott@brbcsw.com

Attorneys for Plaintiff

                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                          Case No. 3:16-md-02741-VC
 LIABILITY LITIGATION
                                                  MDL No. 2741
 This document relates to:
                                                  PLAINTIFF’S RESPONSE TO ORDER
 Emory Moreland, Jr. v Monsanto Company           TO SHOW CAUSE RE: PTO #240
 Case No. 3:20-cv-03069-VC



       Plaintiff Emory Moreland responds to the Order to Show Cause issued by the Court on
March 26, 2025, ECF Nos. 25 & 20389 as follows:

   1. Mr. Moreland’s case was subject to a prior aggregate settlement agreement between
       counsel for Mr. Moreland and Monsanto in 2020, which included an opt-out provision. Mr.
       Moreland exercised his right to opt out of the settlement.


              PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE RE: PTO #240
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   2. Under the settlement agreement, Mr. Moreland is subject to a mediation process set forth
      in the agreement and not the MDL settlement Program [Pretrial Order No. 240].
   3. After receiving the Order to Show Cause, undersigned counsel contacted Mr. Feinberg and
      Ms. Biros to notify them that Mr. Moreland is subject to the settlement agreement. They
      agree that settlement discussions between Mr. Moreland and Monsanto are governed by
      the settlement agreement and are outside of MDL Program, PTO 240.

DATED: March 27, 2025                      Respectfully submitted,

                                           WEITZ & LUXENBERG, P.C.

                                   By:     /s/ Robin L. Greenwald
                                           Robin Greenwald
                                           WEITZ & LUXENBERG, PC
                                           700 Broadway
                                           New York, NY 10003
                                           Telephone: (212) 558-5500
                                           rgreenwald@weitzlux.com

                                           Gregory Stamatopoulos
                                           WEITZ & LUXENBERG, PC
                                           3011 West Grand Blvd., 24th Floor
                                           Detroit, MI 48202
                                           Telephone: (313) 800-4170
                                           gstamatopoulos@weitzlux.com

                                           Paul Scott
                                           BROWN, READDICK, BUMGARTNER,
                                           CARTER, STRICKLAND & WATKINS, LLP
                                           5 Glynn Avenue
                                           Brunswick, GA 31520
                                           Telephone: (912) 264-8544
                                           pscott@brbcsw.com

                                           Attorneys for Plaintiff




            PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE RE: PTO #240
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 27, 2025, a copy of the foregoing was filed with the

Clerk of the Court through the CM/ECF system which sent notice of the filing to all appearing

parties of record.

                                                         /s/ Robin Greenwald




              PLAINTIFF’S RESPONSE TO ORDER TO SHOW CAUSE RE: PTO #240
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